0

11

12

13

14

15

20

21

22

23

24

25

26

27

28

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 1 of 6

es wi
Todd M. Friedman (216752) F-|{_ fF fy
Law Offices of Todd M. Friedman, P.C. A
369 S. Doheny Dr. #415 79 JN25 P 3H
Beverly Hills, CA 90211 moairg ye soon OB
Phone: 877 206-4741 TEANGA

 

 

Fax: 866 633-0228
tfriedman@attorneysforconsumers.com
Attorney for Plaintiff

UNITED STATRSDISTRICT COURT
» FOR THE NORTHERN DISTRICT OF CALIFORNIA

CHARLES MCKAIN, C Lo" »0034 0

Plaintiff, COMPLAINT FOR VIOLATION

OF FEDERAL FAIR DEBT
VS. ) COLLECTION PRACTICES ACT,

) ROSENTHAL FAIR DEBT

AARGON COLLECTION ) COLLECTION PRACTICES ACT,

AGENCY, ) AND INVASION OF PRIVACY
)

Defendant. )

 

I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for
Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. §
1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
Practices Act, Cal Civ Code § 1788, et seg. (hereinafter “RFDCPA”), both of
which prohibit debt collectors from engaging in abusive, deceptive, and unfair

practices. Ancillary to the claims above, Plaintiff further alleges claims for

Complaint - |

MEJ

 
20

21

22

23

24

25

26

27

28

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 2 of 6
ww wi
invasion of privacy arising from intrusion upon seclusion and public disclosure of
private facts.
Il. JURISDICTION
2. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d).
Il. PARTIES

3. Plaintiff, CHARLES MCKAIN (“Plaintiff”), is a natural person
residing in Santa Clara county in the state of California, and is a “consumer” as
defined by the FDCPA, 15 U.S.C. § 1692a(3) and is a “debtor” as defined by Cal
Civ Code 1788.2(h).

4. At all relevant times herein, Defendant, AARGON COLLECTION
AGENCY, (“Defendant”) was a company engaged, by use of the mails and
telephone, in the business of collecting a debt from Plaintiff which qualifies as a
“debt,” as defined by 15 U.S.C. §1692a(S), and a “consumer debt,” as defined by
Cal Civ Code § 1788.2(f). Defendant regularly attempts to collect debts alleged
to be due another, and therefore is a “debt collector” as defined by the FDCPA,
15 U.S.C. § 1692a(6), and RFDCPA, Cal Civ Code § 1788.2(c).

IV. FACTUAL ALLEGATIONS

5. At various and multiple times prior to the filing of the instant

complaint, including within the one year preceding the filing of this complaint,

Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

Complaint - 2

 
10

Il

12

13

14

15

16

20

21

22

23

24

25

26

27

28

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 3 of 6
Defendant’s conduct violated the FDCPA and the RFDCPA in multiple ways,

including but not limited to:

a. Causing a telephone to ring repeatedly or continuously to
annoy Plaintiff (Cal Civ Code § 1788.11(d));

b. Communicating, by telephone or in person, with Plaintiff
with such frequency as to be unreasonable and to constitute
an harassment to Plaintiff under the circumstances (Cal Civ
Code § 1788.11(e));

c. Causing Plaintiffs telephone to ring repeatedly or
continuously with intent to harass, annoy or abuse Plaintiff
(§ 1692d(5)); and

d. Communicating with Plaintiff at times or places which
were known or should have been known to be inconvenient
for Plaintiff, (§ 1692c(a)(1).

6. Defendant’s aforementioned violations of the FDCPA and RFDCPA
also constitute an intentional intrusion into Plaintiff's private places and into
private matters of Plaintiffs life, conducted in a manner highly offensive to a
reasonable person. Plaintiff had a subjective expectation of privacy that was
objectively reasonable under the circumstances.

7. Defendant’s aforementioned disclosure of facts regarding Plaintiff's

debt to third parties constitutes a public disclosure of a private fact not of

Complaint - 3

 
11

12

13

15

16

17

18

20

21

22

23

24

25

26

27

28

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 4 of 6

legitimate public concern. Defendant’s disclosures were highly offensive to a
reasonable person.

8. Asa result of the above violations of the FDCPA, RFDCPA and
invasion of privacy, Plaintiff suffered and continues to suffer injury to Plaintiff's
feelings, personal humiliation, embarrassment, mental anguish and emotional
distress, and Defendant is liable to Plaintiff for Plaintiffs actual damages,
statutory damages, and costs and attorney’s fees.

COUNT I: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT

9. Plaintiff reincorporates by reference all of the preceding paragraphs.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:
A. Declaratory judgment that Defendant’s conduct

violated the FDCPA;

B. Actual damages;

C Statutory damages;

D. Costs and reasonable attorney’s fees; and,
E

For such other and further relief as may be just and proper.

COUNT Ii: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

10. Plaintiff reincorporates by reference all of the preceding paragraphs.

Complaint - 4

 
 

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 5 of 6

11. To the extent that Defendant’s actions, counted above, violated the
RFDCPA, those actions were done knowingly and willfully
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:

A. Declaratory judgment that Defendant’s conduct
violated the RFDCPA;

B. Actual damages;

C Statutory damages for willful and negligent violations;
D. — Costs and reasonable attorney’s fees,
E

For such other and further relief as may be just and proper.

COUNT Ill: COMMON LAW INVASION OF PRIVACY BY INTRUSION
AND INVASION OF PRIVACY BY PUBLICATION OF PRIVATE FACTS

12. Plaintiff reincorporates by reference all of the preceding paragraphs.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered
against the Defendant for the following:

A. Actual damages
B. Punitive Damages; and,

C. For such other and further relief as may be just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 15th day of January, 2010.

Complaint - 5

 
20

21

22

23

24

25

26

27

28

 

 

 

Case 3:10-cv-00340-MEJ Document1 Filed 01/25/10 Page 6 of 6

ww

wi

By:
TODD M. FRIEDMAN (216752)

LAW OFFICES OF TODD M.
FRIEDMAN, P.C.

369 S. Doheny Dr. #415

Beverly Hills, CA 90211

Phone: 877 206-4741

Fax: 866 623-0228
tfriedman@attorneysforconsumers.com
Attorney for Plaintiff

 

Complaint - 6

 
